Case 3:24-cv-01738-EMC   Document 1-4   Filed 03/20/24   Page 1 of 32




                  Exhibit C




                                                                   Page 58
                       Case 3:24-cv-01738-EMC                     Document 1-4            Filed 03/20/24           Page 2 of 32
  ATTORNEY OR PARTY WTHOUÏ       ATTORNËY.                S'IAIE B^R NO 268 1 1 6                                       FOR COURT USE ONLY
  NAME Gâry S. Brotman
  FIRM NAME] Marquee       Law Group, A.P.C.
  STREETADoRESS,       9100 Wlshire Blvd,, Suite 445 East Tower
  ctrY Beverly Hills                                           sr¡re CA       zFcoDe: 90212
  TEIEPHoNE    No 310-275-1844                                FAxNo 310-275-1801
  E.MAtL ADDRESS gary@marqueelaw.com

              FoR (rvamol Geary Sha
  ^rroRNEy
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco
   STREET ADoRÊ8s:      400 McAllieter Street
   MAII-ING AODRESS:

  crryANDzrpcoDE, San Francisco, CA 94102
      BRANCH NAME: Civic Center Courthouse


       Plaintiff/Petitioner: Geary Sha
  DefendanURespondent: Aircraft Service lnternatlonal, lnc,, et al
                                                                                                         CASE NUMBER.
                 NOTICE AND ACKNOWLEDGMENT OF RECEIPT-CIVIL                                              cGc-23-606989


 f O (nseí name of pafty being seruad): Tracv Aouilar

                                                                           NOTICE
     The summons and other documenls identified below are being served pursuant to secltlon 415.30 of the California Code of Civil
     Procedure. Your failure lo complete this form and return it within 20 days from the date of malling shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses lncurred in serving a summons
     on you in any other manner permitted by law,
     lf you are being served on behalf of a corporallon, an unincorporated association (including a partnership), or olher entity, this
     form mugt be signed by you in the name of such enlity or by a person aulhorized to receive service of process on behalf of such
     entity. ln all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. lf you return this form to the sender, servico of a gummons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing: 8l,14i2023


                                  Gary S. Brotman
                                 (TYPE OR PRINT NAME)                                                    OF               NOT 8E A PARW IN THIS CASE)




                                                         ACKNOWLEDGMENT OF RECEIPT
Thls acknowledges receipt of ßo be completed by sender before metl,ng):

1, fxl A copy of the gummons and of the complaint,
2. fx I Other (specifi);

              CIVIL CASE COVER SHEET;ADR INFORMATION
              PACKAGE;AND NOTICE AND ACKNOWLEDGEMENT OF RECEIPT. CIVIL


(To be completed by reclpíent):

Dat€ this form is signed;

                                                                                    )
                (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY                        (StoNATURE OF PERSON ACKNOWLEOGING RECEIPT. WTH TITTE IF
                       ON WHOSE BEHALF THIS FORM IS SIGNED)                             ACKNOWTEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY}




                                                                                                                                                   P.gû I ol I

Form Adopled lor Mendetory Use
JudicEl Councll of Cålfomle
                                         NOTICE AND ACKNOWLEDGMENT OF RECEIPT- CIVIL                                                   Codc ol Crvil Proc€dure,
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POS41á lRev. Januery 1,2005¡                                                                                                              www.@wllnlo.ce.gov

                                                                                                                                   Page 59
                            WIIHOUT ATTORNÊY (Nano, Slalo 8a¡ numho1 ãnd âdd¡oss):
      Gary S, Brolman (SBN 287726) Case 3:24-cv-01738-EMC                            Document 1-4                  Filed 03/20/24             Page   3 of 32
                                                                                                                                                FOR COURT USE ONLV
      MAROUEE LAW GROUP, A Proles$lonât Corporûtion
      9100 Wilshhe Boul€vsrd, Sultê 44S East Towor
      Beverly Hills, Cslirornle 90212
             lELEPl"loNE Nct.: (310) 275-1844                    FAX NO. /Oplioaof:               (310) ?7S.1801
                  E.MATL     ADDRÊgg: gåfyc4marquoolrw.corn
                                                                                                                                                    ELECTRONICALLY
       AIIORNEY FOR (lVamo,f: Oeary Sha

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
                                                                                                                                                          FILET)
                                                                                                                                                    Supcrlor Coutl ol Calllomlt,
     STREET ADDRESS: 400 McAll¡slor Slrool                                                                                                            Counly ol Srn Francltco
  MAILING
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            ANDZIPCODE: San Fråncl3co, C494102
         BRANCH NAME: Civic Cenler Courlhouee
                                                                                                                                                     Clcrk of the Court
                                                                                                                                                        BY: MARX UDAI{
 CASE NAME:                                                                                                                                                                Drputy cl.rk
                       G€ary Sha v3, Altcrall Sorvice lnl€rnetionel, lnc., et å1.

             CIVIL CASE COVER SHEET                                                 Complex Caee Deelgnatlon                       CASE NUMBER;
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                 (Amount                            (Amount
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                 demanded                           demanded is
                                                                          (Cal. Rules of Court, rule 3.402)
                 exceeds $25,000)                   $25,000 or less)                                            DEPT,:

                                                                       must                                 on page
  1. Check on€ box below for the case type that best descrlbes this case;
        Auto        Tort                                                     Contract                                        Provlslonelly Complex Clvll L¡tlgatlon
        f-l         ¡uto (zz)                                                f-l     Breach of contracUwarranty (06)         (Cal, Rulea of Court, rulee 3.400-3.403)

        I     Unlnsured motorist (46)                                                Rule 3,740 collections (09)                      AntitrusVTrede regulatlon (03)
        Other PI/PD/WD (Pereonal lnlury/Property                                     Other collections (09)                           Gonstruction defect (1 0)
        DamageMrongful Death) Tort
                                                                             f-l     lnsurance coverago (18)                 l-l      Mass tort (40)
                     Asbestos (04)
                                                                             l-l     Ottrer contract (37)                    l-l      Securities litigation (28)
        l---l Product liabllily (24)                                         Roal Property                                   I        Environmenlal/Toxic tort (30)
        l-l Medical malpractico (45)                                                 Emlnent domain/lnverse                  l-l      lnsurance coverage claims arising from the
        f--l ottrer Pr/PD/wD (23)                                                    condemnation (14)
                                                                                                                                      above listed provisionally complex case
                                                                                                                                      typ€s (41)
        Non-Pl/PD/WD (Other) Tort                                                    Wrongful eviction (33)                  Enforcement of Judgmont
        I            Buslnees torUunfalr business practice (07)             l-l      Other real property (26)
                                                                                                                             I        Enforcoment of judgment (20)
        l-l          c¡v¡t rishrs (oB)                                       Unlawful Detalner
                                                                                                                             Ml¡qellaneou¡ Clvll Complalnt
        l-l          Defamation (13)                                        f-l      Commercial(31)
                                                                                                                             l-l nlco (zz)
        f-l          Fraud (16)                                             fl       Residential(32)
                                                                                                                             l-l      Ottrer complslnl (not specilied above) (421
                     lnlellectual property (1 9)                            f-l      Drugs (38)
                                                                                                                             Mlscell¡ncoug Clvll Petltlon
                     Professlonal negligence (2ã)                           Judlclal Revlew
        l-l          Otner non-Pl/PDMD rort (35)                            l---l Asset forfeiture (05)                      l-l      Partnership and corporate govemance (21)

        Employmenl                                                          l--l Pet¡tion re: arbitration award (11)         ll       Other petitlon (nof specllled above) (431

       lJ4 Wrongful terminetion (36)                                        f-l Writ of mandate (02)
                     Other employment (15)                                  I     Other¡udlclal revlew (39)
2' This case l-l ¡s ffi ls not complex under rule 3,400 of the Callfornla Rules of Court. lf the case ls complex, mark the
    factors requiring exceptional Judlclal management:
   a, l-l Large number of separately represented parties d, f-l Large number of wilnesses
   b, l-l Extensive motion practice raising difficult or novel e. l-l Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve             courts in other counties, states, or countrles, or in a federal
   c. l-l Substantial amount of documentary evidence                   court
                                                                 f,    Substanlial postjudgment judicial supervlslon
3, Remedies sought (check all that apply): a. ffi    monolary b,     nonmonetary: declaratory or injunctive rellef c. 7l punltlve
4,       Number of causes of aclion (specify): 6
5.       This case                l-l is Fl           ls   not â class action suit,
6,       lf there are any known related cases, file and serve a notice of related case. (You mêy use form CM-015,)
Date: Junc 8,2023

                                            OR PRINT NAME
                                                                                                            )
                                                                                                                                       OF PARW OR ATIOR


 ' Plaintiff must file this cover sheet with the flrsl papor filod in the action or proceeding (except small claims cases or cases flled
       under the Probate Code, Famlly Code, or Welfaro and lnstitulions Code), (Cal, Rules of Court, rule 3,220,) Fallure to flle may result
       in sanctions,
 .     File this cover sheet in addition to any cover sheet requlred by local court rule.
 '     lf this case is complex under rule 3.400 et seq. of the Callfornia Rulos of Courl, you must serve a copy of this cover sheet on all
       other parlies lo the action or proceeding.
 .     Unless this is a collectlons case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only,
                                                                                                                                                                                                I ol2
Form Adopled lor M8ndotory Uso                                                                                                                                         Page 60
                                                                                                                                       Cdl Rul6B ol Cout, rules 2.30,3.??0,3.400-3,403, 3,t40;
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                                 ^.DrÀ6tÃ
                                                                              CIVIL CASE COVER SHEET                                          ^^l
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                   Case 3:24-cv-01738-EMC
                                INSTRUCTIONS ON HOW          Document
                                                                 TO COMPLETE 1-4 THE  Filed        SHEET
                                                                                              03/20/24 Page 4 of 32
                                                                                           COVER                                           CM-OIO
  To Plalntlffs and Others Flllng Flrst Papers. lf you are filing a firsl paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Clvll Case Cover Sheet contained on page 1, This information will be used lo compile
  statlstlcs about the types and numbers of cases flled. You must complete items 1 through 6 on the sheet. ln item 1, you must check
  one box for lhe case type that best describes the case. lf the case fits both a general and a more specific type of case llsted in item 1,
  check the more speclfic ono, lf the case has multlple câuses of actlon, check the box that best indicates the prlmary cause of action,
  To assist you ln completlng the sheel, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper, Failure to file a cover sheet with lhe first paper filed in a civil case may subJect a party,
  its counsel, or both to sanctions under rules 2,30 and 3.220 ol the Callfornia Rules of Court,
 To Partles ln Rule 3.740 Collectlons Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
  in a sum stâted to be cerlain that is not more than $25,000, excluslve of lnterest and attorney's fees, arising from a lransactlon ln which
 property, services, or monoy was acquired on credit, A collectlons case does not include an action seeking the following: (1) tort
 damages, (2) punltive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identlflcalion of a case aE a rule 3.740 collectlons case on this form moans that it will be exempt from the general
 time-for-servlce requirements and case management rules, unless a defendant fìles a responsive pleading, A rule 3,740 collections
 case will be subject to the requirements for service and obtalnlng a judgmenl in rulo 3.740.
 To Partles ln Complex Caaee. ln complex cases only, partles must also use the Civil Case Cover Sheet to designate whether the
 case is complex. lf a plalntiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be lndlcâted by
 completing the approprlate boxes in items 1 and 2,lf a plalntlff deslgnates a caso as complex, the cover sheet musl be served with lhe
 complaint on all partles to the action, A defendant may file and gerve no lator than the time of its first appearance a joinder ln tho
 plaintiffs deslgnatlon, a counter-designation that the case ls not complex, or, if the plaintiff has made no designation, a designation that
 the case iscomplex.                                       CASE TYPES ANo EXAMPLES
  Auto   Tort                                     Contruct
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                                                                                               (411           case             above)
  Tort                                               Collections (e.9., money owed,   open        Enforcement ofludgment
       Asbestos     (04)                                 book accounts)  (09)                        Enforcement of Juãgment (20)

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       Medical Malpractlce (45j                          Auto Subrogallon
                                                                                                     Adminlstratlve Aiency Award
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                                                                                                         þot unpa¡d taxes)
               Physicians & surgeons                 other contract (37)                              pedt¡on/cerrlficatlon of Entry of
                            rarth cere
       Other profássional Health  Cere                  Contractual Fraud
              Matprâcrice                         ã-           Dispute
                                                        other contract                                o,rjiÉn#;jn.Ti:;Í.triï,
                           (23)                   Real ProPefi
       other PuÞD/WD
            r.iffìrilio,rrty 1e,s,,   srrp           t'3:1,q""ö:lilii,|iï"                                 case
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                            lnJury/PD/\flD wrongful      Eviction (33)
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                              of
            lnteniioñd lnfliction                 writ of Possession of Roal Property                     oecreratory Rslref only
                 EmotionalDlstross                Mortgeg€ Foreclosure
                                                                                                          lnjunctive Relief only inon-
                             of
            Negllgênt lnflictlon                  Qulet Tllle
                                                  other Real property (nol emtnent
                                                                                                              harassment)
                 Emot¡onalDistress
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         othsr  pup'^u'                                                      or                           other commercial complalnl
 Non-pupD/wo (other) Torl                         foreclosure) "                                               Qasø (non'totunon-complex)
    Business loruunfair Buslness          unlawful Detalner                                               otnirl,Ï'fii#l|?l;,rr,
        Pracrtce (02) 'usrn€ss               commerclal(31)
    Civil Rights ie,j., discrimination,      Residential (32)                                     Ml¡ceilaneouÊ clvll peüüon
         tatJe ariesl¡ @ot ctvlt             Dtuge (38) (lî the casa lnvolues lllegal                 partnership and Corporate
          lrarassmenil'1og¡                  drugs, check this item: othøtwise,
    Defamation (e.s., stander, ilbet)         repór1 as commerctator Resldenttel)
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           (13)                           --"4""t
                                          Judlclel Revlew
    Fraud (16)                                       Forfeiture (05)
                                             Pelltlon Re: Arbltratlon Award (1 )
                                                                                                         åliífl"[:l'r",
    lntelleitual Properly (19)                                                        1
                                                                                                         Workplace Violence
    Professlonal Nàgltdeàce (es)             Wrlt of Mandale (02)
                                                                                                         E¡ter/Dependent Actutt
        Legal Malpraótióe                        Writ-Administrative Mandamus
                                                                                                             Abuse
       Other Professional Malprâcllce            Wrlt-Mandamus on Llmlted Courl
                                                     case Matter
                                                                          "l"l """"                      Election contesl
             (nol medlcal or tegat)                                                                      Petltlon for Nams Change
    Other Non-pl/pDMD Tort  ron (35)
                                (3S)             Writ-Other    Limited CourtI Case
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                                                                                                         Pêllllon lor Rellef From Late
 Employmont                                          Review
    wrongful Termlnarlon (36)                Other Judicial Review (39)
                                                                                                         o*"?'ËTi' pe,rion
    OtheiEmployment (1S)                         Review of Health Officer Order
                                                       Notlce of Aooeal-Lebor
                                                            Commiisioner Anneâlß
CM-010 [Rav. Soplombor 1,20?11                                                                                                            P.ec 2 ol 2
                                                        CIVIL CASE COVER SI{EET
                                                                                                                              Page 61
Fo! ySUf Dr_üû||üÞ! lhd Þfivroy'?|.$ó Dtl|¡ üà Ctert
                            Case 3:24-cv-01738-EMC                           Document 1-4           Filed 03/20/24           Page 5 of 32
                                                                                                                                                           suM-100
                                                             SUMMONS                                                                 FOR COURT USE O¡VLY
                                                                                                                                 (soLo PARA USO OE LA CORTE)
                                                         (ctTActoM JUDtctAL)

 NOTICE TO OEFENDANT:
 (AViSO AL DEMANDADO):
  Alrcraft Servlce lnlernallonal, lnc., a Delaware corporatlon; Menzles Avlatlon (USA), lnc.,
  a Dôlawarô corporation; Tracy Agulla¡ an lndlvldual; and DOES 1 lhrough 50, lncluslve.
 YOU ARE BEING SUED BY PLAINTIFF:
 LO ESTÁ DEMANDANDO EL DEMANDANTE):
      Geary Sha, an Indlvidual

 INOTICE! You have been sued, The court may decide against you without your being heard unless you respond wlthln 30 days. Read the information
 lu"bw.
 I Vou nave 30 CALENDAR DAYS afler thls summons and legal papers are served on you to file a written rosponso at th¡s court and have a copy
       on the plalntiff. A l€tter phone      prolect you.
 laerved                           or        call will not                                 proper
                                                                      Your wr¡tt€n rosponse must be ln         you
                                                                                                               legal form lf      wanl the courl to hear your
 lcase. There may be a court form thal you can u8€ for your response, You can nnd th€se courl forms and more information at the Calilomia Courts
 lOnline Self-Help C€nter (www.couilnfo.ca,gov/sellhelp), your county law library, or the courthouse nearosl you. lf you cannot pey the llllng fee, ask the
 lcourt clerk for a fee walver form. lf you do nol lile your responso on time, you may lose the case by default, and your wâges, money, and proporty may
 'be taken wilhout furlher warning from the courl.
     Thero are other legal requlremenle, You may want to call an attomey right away. lf you do not know an attornoy, you may went lo câll an attomey
  referral servlcs. lf you cannot afford an attorney, you may be eliglble for free legal servlces from a nonprolil legal servlces program, You can locate
  these nonprofil groups at the California Legal Servlces Web slte (www.lawhelpcalifomia.org), the California Courts Online Self.Help Center
  (www.courtlnfo.ca.gov/selfhelp), or by contacting your local courl or county bar association. NOTE: The court has a stalulory llen for waived fees and
  costs on any settlement or arbitration award of $'10,000 or more ln a clvll csse, Th€ courl's llen must be paid before the court will dismiss the caso,
  tAVlSOl Lo han demandado. Sl tto responde denlro de 30 dlas, la code puede decidir en s¿, contra srn escucharsu versión. Lea la lnformaclón a
  contlnuaclón.
     Tiene 30 DIAS DE CALENDARTO despuds da gue le entreguen asla cllaclón ypapeles legales para presentar una rcspuesfa poroscrifo en esta
  corle y hacer que so ontregue una copla al demandante. Una carta o una llamada telolónica no lo ptotegon Su respuesla por øscrlto llene que estar
  en lormato legal corraclo sl deseâ que prccesen su caso en la co¡tø. Es posrb/e quø haya un formularlo que usted pueda uset pard su respuosta.
  Puede encontrar eslos lormularios de la cofle y mâs lnformaclön sn el Cenlro de Ayuda de /as Cortes do Calilomia (www,sucorla.ca.gov), en la
  bibliotaca do leyes de su condado o en la code que le quede más cerca, Si no puede pagar la cuota de presentaclón, plda al secretarlo de ta corte que
 le dé un lormularlo de exención de pago de cuotas. Sl no presenfa su respuesla a tlampo, puede perder el caso por lncumpllmienlo y la code le podrâ
  quitar su sualdo, dinero y blenes sln más advartencla.
     Hay otros røqulsltos lagales. Es ¡ecomendable que llame a un abogado inmadiatamente. Si no conoce a un abogado, puede llamar a un seruicio do
  remlslÓn a abogados, Sl no puede pagar a un abogado, es pos/ô/e que cumpla con los requlsllos para obtener se¡ylclos legales gratuitos de un
 programa da seruicios /egales sin fines de lucro, Puede encontrar estos grupos sln flnas de lucro en el sitio web de Califomia LegalServices,
 (www.lawhelpcalifomla.org), en el Centro de Ayuda de les Corfes de Califomia. (www.sucoda.ca.gov) o ponlöndose en conlaclo con la corte o el
 coleglo de abogados /oca/es. AVISOT Por ley, la cone tbne derscho a rèclemdr las cuotas y /os coslos exenfos por imponer un gnvamen sobre
 cualquier recuperdción de 810,000 ó mâs de valor raclblda mediante un acuerdo o una concesión de arbilraje en un caso de derecho clvll, Tiene quo
  pager el gravamen de la codê anles de que la code pueda desechar el caso.
                                                                                                       CASE NUMBER:
The name and address of the court is:                                                                  (Numon dal Cûso):
(Et nombre y dlrección de la cofte es); Clvlc Cenler Courlhou¡e
                                                          400 McAlllster St
                                                                                                                                    ccc-23-606989
                                                          Sen Franclaco, CA 94102
The name, address, and telephone number of plaintiffs altorney, or plaintiff without an attorney, is:
(El nombre, la dlrecclón y el nttmero de teléfono delabogado deldemandante, o del demandanle que no tlene abogado, es):
  Gary 9. Brotman (SBN 287726), Marquce Law Group, A.P.C. 9100 Wllghlre Blvd. 8te. ¡l45 Eeet Towor, Beverly Hlll¡, CA 90212; (3'10) 275.1844
                                                                                        Clerk, by                                                         , Deputy
?Ê{ål, oltlst2o2s                                                   (Secretarlo)         MARK UDAN                                                        (Adlunto)
(For proof of sev¡ce of th¡s summonq use Proof of Servlce of Summons (fonn POS-010).)
(Para prueba de entrega de esta citatiôn use el lormularlo Prool of Service of Summons, (POS-010)).
  fsEALl                                         NOTICE TO THE PERSON SERVED: You are served
                                                 1. f-l        as an individual defendant.
                                                 2. l-l        as the person Eued under the fictitious name of (specify):

                                                 3. l-l       on behall oÍ (specify):
                                                        under:     l--l CCP 416,10 (corporation)               l-l         ccP 416,60 (mtnor)
               ,/ rAN                                              f-l ccp 416.20 (defunct corporatlon)                    CCP 4 1 6,70 (conservatee)
                                                                   l-l cCP 416,40 (assoclation or partnershlp)             CCP 416.90 (authorized person)
                                                                   [-l other (specify):
                                                 4. f-l       by personal delivery on (dale):
                                                                                                                                                             PrC. 1 ol 1
Foiln Adoplod for M¡nd¡lory [Jro                                                                                                   Codo ol Civll Procoduro gg 412.20,465
  Judl¿lol Council of Cül¡lomi!                                                   SUMMONS
                                                                                                                                                      www ctrillt ç,t gov
 SUM-100 lRsv. July l,20091
For yoUr pl!¡rflónjånd prtvr-oyr þlotto pr¡úr tftt                   cl.ü                                                                    Page 62
*a-   !.i.i-    o.¿rÈ'*¡i      r,-r.   Li,ìi   ¡g-ò-¿   úà   a.4                                                                           ftEïFEilr.r--l_l
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        Ì
            F'. Shawn Azizollahi (SRN 2681 l6)
            sharv¡r (i¿lnl arqtree I aw. c onr                                               ELECTRONICALL

        3
            Gary Brotnran (SIIN 287726)
            gary(OnlarquccIarv.com
                                                                                               FtLtit)
                                                                                            Sttpotlot Coutl ol
                                                                                             Counly ol S.n Froncltco
            MARQUEE L^W (iROtJP. A Prof'essional Corporation
      4
            9l 00 Wilslrire Boulevarcl. Suite 445 Dast 'l'owcr                                  06/09/2023
                                                                                             Clerk of the Court
      5     Bcvcrly Hills. Califbnria 90212                                                   BY: MARK UDAN
            (3 1 0) 275-l 844 telephone                                                                   D.puty
      6     (310) 275-l 801 fax
      7
            Attorncys for Plaintifi
      B     Geary Sha

      9
                                   SIIPERIOR COI-IRT OF TIIB STATE OI,'CALIFORNIA
 10
                                                 COUNTY OF SAN FRANCISCO
 ll
 L2
            GU^RY SHA. an indiviclual:                      )     Case No.
 l3                                                                                             cGc-
                                                            )
                                Plaintifl.                  )     COMPLAINT F'OR:
 L4
                     vs                                     )
 15                                                         )     l. Disability Discrimination in Violation
                                                            )    Cal. Gov. Code Scction 12900 et seq.;
 16         AIRCRAFT SERVICE INTDRNAI'I ONAL, )               2, Harassmcnt and Hostile Work
            INC:., a l)elawarc corporation: MENZIES              Environment in Violation of Cnl. Gov.
1"1                                                       )
            AVIATION (tJSA), INC'. a Delaware             )      Code Section 12900 et seq.;
1B          corporation; TRACY AGtllLAR. an               )   3. Failurc to Prevcnt Discrinrination and
            individual; ancl DOES I through 50. inclusivc )      Hurassmcnt in Violation of Cal. Gov.
19
                                                            )    Codc   Section 12900 et scq.;
20
                                Defendants.
                                                            ) 4. Iìetaliation in Violation of Cal. (iov.
                                                            )    Code Section 12900 et seq.;
2I                                                          ) 5. Wrongful    Termination In Violation of
t')                                                         )    Public Policy (Count I); and
                                                            ) 6, Wrongful    Terrnination ln Violntion of
23                                                          )    Public Policy (Count Il).
                                                            )
24
                                                            )
,q.                                                         )

                                                            )
1 t:.                                                       )
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?'1
                                                            )

2B



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                                                        COMPI,A¡NT
                                                                                                        Page 63
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       I     Plaintifl' alle ges

       2                                                       PART'IES
       _l                l.     Plaintifl. Cieary Sha ("PlairttifT'hcrein). is. and at all relevant tillles was. a
       4     resident of Vallc.j o. Clalifbrnia.

       lr               2.      Plaintiff is inf'ormcd and believes. and based thereon allcgcs. that Dclèndant
       6    Âircraft Scrvice International. Inc. ("^Sl") is. and at all relevant tirlres wâs. a corporation
       't   organized and cxisting under the laws of the statc of Dclawarc. qualilìecl to do lrusiness in the

       B    statc of Clalilìrrnia. with its principal placc of business located at 3500 Willianr D l'atc Âvcnue.

       !)   Suite 200. Cirapcvinc. Texas 76051 .

  l0                    3.      PlaintifTis inlìrr¡ned ancl Lrelieves. and based thcrcon allcgcs, that Defbndant

 tl         Mcnzics Aviation (LISA). Inc. ("Mcnzics") is. ancl at all relevant tillres was. a corporatiotl

 I2         organizcd and cxisting urrder the larvs of thc statc of'Dclarvare, qualifìed to clo business in thc

 t-3        statc ol'Califirrnia. with its principal placc ol'business located at 4900 Diplomacy lìt-¡ad. Fort

 I4         tWorth. I'cxas 76155.

 t5                     4.      Plaintifïis infìrrnred ancl trelieves. and bascd thcrcon allcgcs, th¿rt Delbndant
            'l'rttcy
 16                    Aguilar is. and at all relevant timcs was. a resident of San Frallcisco. Llalifornia.         all
                                                                                                               ^t
 17         relevant tinres. Aguilar rvas the Hur¡ran Resor¡rces Managcr for Mcnzics Âviation who cclntrollecl

 IB         tlrc rvork conditions for Plaintiff'.

19                      5.      PlaintilT'is ignorant of thc trt¡c narles and ca¡racities ol'the defendants succl hcrcin

2L)         as DODS I tlrrough 50, inclusive. and therefbrc sucs thcsc clctbnda¡rts by such fìctitious nanìcs.

71          Plaintifl'will alnend this Cìomplai¡rt to allege the tnre narnes and capacitics of said delbnclants
')')        wltcn asccrtainecl. Plaintill'is infolrncd and bclicves, ancl basecl thereon allege. that each of thc

23          fictitiously natttcd dclbndants is responsilrle in sornc manncr lìrr the occurrences herein allegcd.
?4          and that Plaintiff s datnagcs as lrerein allegecl were proxirnatcly causccl by said dclbnclants. (ASI.
1C
.:.)        Menzies. and DOES I through 50 shall collectively hereilt Lre referred to as "Dcf'cndants").

iU                     ('¡.    At all relevant tinlcs ltcrcin, Dcl-cntlants enr¡rloyed Plaintill. within the tncaning of'
?.1         Califìrmia Cjovenunellt Clodc ss 12926(cl). Plaintiff was enrployecl by Dct'cndants and rvorkecl at
,]Q
            Dcl'crtdant'sollìce located at 730North McDonnell Roacl. San Frallcisco. (-A 94128 turtil. as


                                                                  -2-
                                                             COMPLAINl'
                                                                                                                Page 64
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        1   alleged herein. Plaintilîs crnploymcrlt was tcnninated on or about January 3. 2023 for unlawlil

     :,1    rcasons irr violation ol'the Clalil'ornia Fair [mployrncnt and Housirrg Act ("l"EHA." Calitìrrnia

     .l     Gt¡vern¡'nellt Cocle $ I 2900 ct seq. ) and in violatio¡r of.Calilirrnia ¡lublic ¡rolicy.

     4              7.      l.lnless otlterwise alleged in this Conrplaint. Plaintif is infìrrmcd and bclicves, ancl

     t,     based tltercotr allegcs. that each ol'thc Del'endants sued herein was. at all relevant tirncs hcrcto.

     6      the enr¡rloyer. owlter. principal. fianchiscc. proxy. agent. enr¡rloyee" supervisor. re¡rresentative.

     1      managcr, nranaging agent. joint enrployer. and/or altcr cgo of thc remaining Dcl'endants. and rvas

     I      actirrg. at least in part. within thc coursc and sco¡rs of'such enr¡rloynrent and agency. with exprcss

     I      and inrplied ¡rernrission. consent. and knowledgc. 'l'he abovc Delènda¡rts. managing agents. and

 10         supervisors aidcd. abetted. condonecl. ¡rermitted. willfìrlly ignorcd. approvcd. authorizcd. and/or

 11         ratifiecl the ultlarvfulacts dcscribcd hcrcin, a¡rd each and every one of the acts and ornissions

 t2         allegecl herein were ¡rerfonned by. ancl/or arc attributable to all l)elbndants.

1:J


t4                                                      JURISDICTION
l5                  8.      Plaintill'is infirrnred and trelieves. ancl based thcreon allcgcs. that at all times
16          Iterein nretrtionecl. Defcnd¿rnts, and cach ol'thenr. were doing trusiness in the State of California

I1          suclt that thc cxcrcise ol'jurisdiction lry this Court wor¡ld not bc inconsistcnt with thc

18          Constitution of the Statc of C'alifbrnia and/or the ljnited States of Alnerica.

1rt                 9,      This Cor¡rt has.jurisdiction ovcr this action ¡rursuant to Califtrrnia Code ol'Civil

20          Procedure Section 4l 0. 1 0.

2I                  10.     'l'he total anlount in controversy for claims of Plaintitïis morc than1'wcnty-F'ive

') ')       Thousancl l)ollars ($25.000), In addition. Plaintifl'asscrts no clainrs uncler fbderal law. with all

23          causes of'action nanred herein being basecl exclusivcly t¡ndcr Llalifìlrnia law.

24


25                                                           VENI"IE

:¿6                 ll,     PlaintifTis infornrcd ancl bclicves. ancl basecl tlrereon alleges, thatvenue is propcr
            n Sall lrraltcisco C'ounty bccaulse l)elLndants. and each of thern. have conductccl bt¡siness rvithin

2B



                                                                .t-
                                                           COMPLAINT
                                                                                                             Page 65
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     I   thc County ol'San l"ra¡rcisco and il substantial portiorl of tlìc rvrougfil acts corììplained ol'

         occurrecl therein.

  3


  4                                              GENIIRAL ALLEGATIONS
  c
                    l?.       Plaintil'l'alleges and incuqrorates hcrcin by this rcl'crcncc cach and cvery

  6      allcgatiorr sct tbrth in all prcvious paragraphs of this Complaint.

  1      P I o i n tiff's Emp I oy nrc n t :

  B                 13.       Dcf-cndants cnrploycd Plaintifï fiorn on or about May 29. 2018 until on or about

  9      January 3.2023 (the "lìmployment Periocl").

10                  14,       ASI is a flight support cornp¿ury rvhich provicles a wicle array of scrviccs to
lt       commcrcial aircralì. ASI ofl'crs rcl'ucling scrviccs to aircrafl on thc ground as well as groutrcl

1:       handling scrviccs including baggage and cargo handling and transfel services. ASI is alscr

I3       rcsponsiblc fìrr pruviding cabin and krungc clcaning as wcll as.ictrvay dc-icing services. ASI

t4       operates around thc country and beyond.

1l)                15.        Sinrilarly. Menzies. in conjunction with ASI. provicles ground, fircling. and cargo

16       serviccs to corrrrercial aircrafl. ln or about 2017, Mcnzics acquircd ASI. who ttow operates itt

1'l      Clalilbrnia uncler the fictiticlus lrusi¡ress nanre Menz,ies aviation. At all rclevant timcs hcrcin. both

tfJ      Mc¡rzics and ASI iointly nranarged ¿rnd controllcd PlaintifTs wagcs. lìours, rvork scheclule. and

19       work conditions.

20                 16.       Plaintiff rvas a hard-working ancl st¡ccessf ul Operations/Gerreral Marnager. who
21       carriecl out his duties ef'f'ectively and was excitecl to work lìrr Dcl'endants. 'l'hat is. until

         Dcfcndants turncd against PlaintifTwhcn he suffered fi'onr a temporary disability and required

23       several rnonths of nleclical leave.

?4       Pl o ì n tiff's Prole cte d Stat us :

                   1'7. Plaintill'is a 3(r-year-olcl ¡rralc who st¡fl'crcd fiorn a tcrnporary physical disability.
         Plaintitl'lrad to havc two hcart valvc surgcrics and st¡ffered conrplications fi'onr the lirst.
?7       includirrg a stroke that tenrporarily disahled PlaintilI-s right sidc o1'thc bocly. Plaintiff rvcnt out

2B       o¡r rncclical lcavc 1ìrr scvcral nronths to rccovcr and was trltirnately wronglìrlly tenninated I'or


                                                                -4-
                                                          COMPI,AINl'
                                                                                                             Page 66
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            cliscrinrinatory and rctaliatory rcasons. i.c.. f'or tlc-longing to a protcctcclclass and for engaging irr

       2    protcctcd activitics. Consequently. Plaintifl'is a ¡rrotected enrployee. as delìnccl uncler Calilìrrnia

       .l   l.arv. (See. Cal. Gov't Cìode $ 12940. at s'at¡.).

       4    Pl a in I iff's J o h Pe rft r nru il ce :

     5                 I   8.    Plaintifï was an cxcrnplary cmploycc of Dcfbndarrts throughout thc cntircty of thc
       6    Ent¡rkryntent Periocl. Plaintiff rìever received any negative perfonnance evaluations and rvas

    1       prornotcd to his rnanagerial ¡rosition with ease.

    B       D efe n d o nîs' Hø ra ss i n g, D isc rì m í n o lo ry, a n d Relo I ì a lo r¡t Co n d ucÍ :

    I                 19.        In or about February 2022. Plaintifl'requestecl ancl received a¡r¡rroval lionr

 10         Defendants tbr a rncdical lcavc of absence pursuant to thc F'anrily Carc Mcdical Lcave Act

 t1         ("FMLA") Lrecat¡se I'laintiff necdcd to havc hcart valvc surgery. PlaintifT-s IìMLA leavc rvas
 r?         ap¡rrtrved fì'onl Fetrruary ll .2022 tlrrough May 7.2022. Recause ol'Plaintill's condition. he had

 1-l        scheduled heart surgery f'or on or about l;cbruary I I .2022 and anticipatecl atrout one rnonth fbr

 I4         recove¡) ti¡ne. assu¡rring tlre procedure was successful.

 15                   20.        lJntbrtunatcly. Plaintill'sulTbred conrplications during this lìrst surgcry and nearly

 16         lcrst his lilè during the proceclure. The day aflc'r this surgery. on or about February 12,2tJ22,

17          Plaintifïwas transf'crrcd to a dif'l'ercnt hospital to pro¡rcrly pcrlìrrm thc hcart valvc surgcry antl
IB          correct cornplications frorn thc first surgcry. Âs a result of the first surgery conrpletely shutting

 l9         the lell valve ol'Plaintill's heart ancl cutting off the blooil supply to that ¡rortion of his heart.

20          PlaintilTrcccivccl a Lell Ventricular Assisting l)evice ("l,VAD") during tltis second proceclure

2I          which would opcn and shut thc valvc on the lelt sidc ol'l'laintifTs hcart propcrly.
a')                   21.       Further. clue to the conrplications fronr the lìrst surgery resulting in a lack of
J1          blood llow in Plaintill's hcart. Plaintill'sufïèrecl a strcke which clisablecl thc right side ol'his

24          body. Plaintiff was tcrnporarily unablc to lnovc his right arnr and riglrt lcg; hc could not walk nor

25          write. Plaintil'f notifìcd Dcf'cncla¡rts of his condition and his IïMLA leave rvas extended until on
:¿ (;       or about May 7" 2022.
'¿1                  22,        On or abot¡t April 7. 2022 Plaintil'l'was sccn by his doctor who extcndcd

.1.8        Plaintill's nledical leave to alrsence through Septernlrer 19.2022. IIe was ¡rrescritred thc r¡sc ol'a


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                                                                     croMPl.AtN't
                                                                                                                      Page 67
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     l    c¿u1c or rvhcclchair dr.rring this tinrc ¿rs hc continuecl his physical tlrcrapy and rccovcry. A hunran

          resources re¡rresentative frorn Defendants.'fracy Aguilera. respondecl to I'laintif'l's rìew request

     l    to cxtcnt his rncdic¿rl lcavc stating. "l'nr glad to hc¿rr you arc doing well." On April 14.2022

     4    Plaintifl'received apploval of his request f'or extended nredical leave fìtnl Defbncla¡rt's Leave of

     5    Âbsence/Rcturn t(l Work S¡recialist Patricia Gibso¡r.

     6             23.       Just bclbrc Plaintitïwas sct to rcturn on Scptcmbcr 20. 2022, Plaintiff-s doctors

     '1
          discovered that Plaintiff s heart hacl made an unexpected recovery. Plaintiff s heart lregan to

     B    function propuly and no longcr nccdcd thc LVÂD. 'l'hns. PlaintifT.s doctors infbrnred hinr that

     lJ   the LVAD needecl to be renrovecl and provided hinr with c1 new doctor's note requesting one last

10        extension to his nredical leave through Decenrlrer 19.2022, in orcler lilr Plaintill'to have o¡re

lÌ        lìnal proccdurc to rcffìovc thc LVAD. Plaintill-s cloctors schcdnlcd thc surgcry in or about

l!        Octolrer 2022 to renìove the devicc and extendcd Plaintifl-s lcave t¡ntil Decernber I c).2022.

t3        Plaintifl's rcclucstcd cxtcnsion was oncc again approvcd by Dcl-cndants.
I4                24.        On or about Decernber 20.2022. Plaintiff drove into work. excited that he was

15        atrle to continue working ancl that his heart had recovered. only to receive a ¡rhone call liom

t6        Dcf-cndants' lrun'¡an rcsourccs rnan¿ìgcr'l'racy Aguilar ("Aguilar"). who told Plaintift. for thc fìrst

11        tinle. that his ¡rosition hacl been elinrinatecl during his leave ancl that he would no longer he

IB        (ìcncral Managcr. Pl¿rintilì'was in conrplete shock arrcl clisbclicl. Hc askcd what hc rvas supposcd

19        to do. and Aguilar respondcd by tclling Plaintifïhc coulclconle back to an entry leveljob as an

2t)       aircraft fueler or c¿rrgo hancller, Plaintiff wot¡ld have to go fronr a salaried ¡rosition nraking over

?1        $100.000 per year. to an hourly role nraking less than $20.00 per hour. Plaintifl'l'clt th¿rt tlrese jotr
a')       ofI'ers wcre a slap in the fhce as he would havc to conlc track to a position rnaking less than half
,) ')
          of his olcl hourly rate and lre nranaged by the team nrenrbers he used to nlanage befìrre taking

24        nreclical leave.

/.5               25.        PlaintilÏtold Agr.rilar that lì¡rancially hc could not iìcccpt atì cntry levcl position
          and that hc wantccl to conrc back in a nranagcrial rolc conrparablc to the C)perations/General

?1        Manager rolc Plaintill'hcld prior to goirrg on nredical leavc. Aguilar told |tlaintilïthat hc had
ta        until on or atrout l)cccrnbcr 23^7r¿22 to accc-pt onc of thosc positions ancl il'he dicl not then


                                                                '(''
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             Aguilar would ter¡ninate ['laintifîs en]ployrììcnt as a "vohurtary resignation." Plaintifl'reitcratcd
      2     hc rvas not rcs¡gning. ancl again asketl tu retur¡r tt¡ his olcl role or a co¡nparablc rlranagcrial role irr

      .'l   anothcr dc¡rartrnent.

      4               26.       Plaintifl'had a rncctirrg with Aguilar on Dccenrber 23. ?022. Agr.rilar scnt a recap
      ti    ernail tltat sarne day reituating that PlaintifThad statcd he tìnancially carrnot acccpt the entry

      6     levcl ¡rositions ofï'erecl to hinr. Aguilar set up a "fitral rneeting" with Plaintiff l'or Decenrber 28.

      1     2(122 for ltitn to "rcconsiclcr acce¡rting une of'the ¡rositirlns being of'l'erecl." Aguilar l-urther

      B     inlìrnnetl Plaintiff that "lf yot¡ do not attend the meeting.I will then accept your voluntary
      I     rcsignation."

 10                   27.       Plaintifïmct with Aguilar again on I)cccmbcr 28, 2022, whuc hc rnaintained that
 'I 1
            he cleservecl to conrelrack to a cornparalrle role ancl reiterated that he rvould not resign. Aguilar

 I2         thcn scnt Plaintitl'an errrail stating that Plaintifl'vertrally ref used the entry-level ¡rositions of'lered

 r l.r      to hinr again. Aguilar then listed lour (4) rnanagerial positions within Menzies ancl/or ASI. but

 1,4        cach position was out ol'state (lllinois. Toronto. or Texas). ancl Defbndants inlìrr¡necl PlaintilT

 15         that "there are no rclocation fìurds availablc." Morcovcr. thc positions wcrc not simply offcred to
 'I (;      Plaintill. but he was told by Aguilar that he would neecl to apply and intervierv for any position
17          he was interested in. Âguilar gavc PlaintifTtrvo (2) days to nrakc a dccision and concludcd hcr

1B          e¡trail by stating "Failure to respond. I rvill accept this as your voluntary resignatior'r."
'I
      I               28.       On or about l)ecenrber ?9.2022. Plaintill'enrailed Aguilar statirrg that he needecl

20          rnorc tltan two (2) days to considcr rclocating his cntire lanrily to another statc, and again stated

2I          "l clo not resign or voluntarily rcsign. ancl it fccls thrcatcn rvhcn you say this (.ric:)."
                      29.       Aguilar would res¡rond via enrail this very sanre day once again stating that
?'t         Plaintitïhad rchrscd thc cntry-lcvcljobs in San l.rancisco. and thatshc had ofÍcrcd him sonre
24          rnanagerial positions fbr rvhich he wot¡ld "havc [to] intcrvicw and bc considerecl. if flrcl

I.)         qualif[ies]." Aguilar gave Plaintifl'until January 3.2023 to nrake a clecision. ancl told Plaintifï

:¿ r)       that il'hc clicl not atcce¡rt one ol'the entry leveljotrs in San F'rancisccl lry January 3.2023 then she

            rvould "have no choice br¡t to tenninate fi'lairrtifl.sl crnploynrent as a voluntary

2B          resi gnattion/re lirsccl rvrlrked (,ric: ). "



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                                                               COMPLAIN'I
                                                                                                                Page 69
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        I             30.      On ur about.lattuatry 3.2023. I'lairrtilTserrt Aguilar an crììail sayirìg thal hc could

      :'     not ¿tpplv lbr thc out ol'statc.iobs as hc could not nrovc his lanrily across (or out of) the coutìtt'y.

        .J   and thût hc could not linanciallt, 1uU" the cntry level laborer jobs ol'fered in San [;r'ancisco sincc it

      4      rvould cut lris pay irì half'. Yct ag,airì. Plaintifl'statcd that hc w¿rs nol resigning and that he f'elt that
      c
             Âguilarrvas lirrcing Plaintiff'to take these.jobs ¡ncnial.jobs and/orrcsigrr and was being treatccl
      (¡     this way bccausc ol'his nrcclical lcave. Aguilar res¡ronded the sanre clay. and instead of

      1      addressing Plaintifls conccrns of disparatc trc¿rtnlcnt or attenr¡rting to hel¡r PlaintifT Aguilar scnt

      I      Plaintitïa cltangc in status lìrrnr rvrongfully ternrinating his ertrploymcnt. Aguilar sclcctcd that
      t)     Plaintiflvoluntarily rcsigncd and rcf'uscd work on tlre change ol'status fornl.
     i0      E.rhaustion of AdmìnístraÍìve Remedìes:

 l1                   31.     At all a¡r¡rlicable tinres nrentioned herein. Defendants rcgularly cmploycd live or
 1t          nlore persons in Califìrrnia. bringing Dcf.cndants suliect to the ¡lrovisions of the Fair

 13          Lrnploynrcnt and Housing Act ("FEHA").

 l4                   32.     Plaintifïltas adcquatcly cxhausted all ol'his adnrinistrative rernedies under thc
 rc          I't1HA anclobtained a valicl"rigltt to st¡e" lettcr against Dct'cndants lionr thc Dcpartment ol'Fair

 16          Dnrploymcnt and Housing.

 I1

IB                                                 FIRST CATISIì OF ACTION
19                     lDisability Discrimination in Violation of'Cal. Gov. (,'ode Section 12900 et seq.
'l fì
                                       by PlaintilïAgainst ASl. Mcnzics. ¿rntl Does l-.50)

?.t                  33.      Plaintill'alleges and irtcor¡rorates herein by this rcf'crcncc cach ¿rnd cvery

?.:!         allegation set forth in all prcvious paragraphs ol'this (lonr¡rlaint,
') ')                34.      There existecl an etnploycr-crnploycc rclationship between Plaintill'ancl

:!4          Dcl-cnd¿rnts during the Fìrn¡rloynrent Periocl and. at all tinlc's hcrcin. Itlaintilïwas duly qualilìed

:J           ancl perl'onnccl hcr cnrploynrcnt duties in a satislactory nrallrer.

2(,                  35,      Llccausc l"LllA rccluircs only a "linritation" on a nrajor lifb activity. evidcncc. of ¿r

?1           tcttìporary or short-tet'rtr inr¡rairnrent c¡ualifies an ernployee as clisablccl rulclcr ItDIIA. thcrrcby

;,8



                                                                   .   ll.
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   l    aflirrding saicl cnr¡rlo)/ec tlre protcctions providcd to clisabled persotls uncler IrEH^. (Diuz v. þ-cd.

   :)   Ex¡trcss Cot'p., (2005) 373 F.Supp,2d 1034. l05l-1052).

   -j             36.    Plaintill'sulTcrcd lì'onr a physical disability ancl is a mcmllcr of a protcctcd class

   4    within thc lncaning of IEIIA and is entitled to its guarantccs of 1ïll and cqual access to

   5    ernployntent.

   6              37.    It is unlawfil f'or an cmployer to cliscrillrinate agairlst an enrploycc bascd on tltc
   't   cmploycc's "racc. religious creed. color. national origin. ar¡ccstry. physical disability. mental

   I    clisability. nredical condition, gcnct¡c infbnnation. rnarital status. sex, gendet'. gcndcr idcntity.
   ()
        gendcr cxprcssion" agc. sexual orientation. or nrilitary and veteran status of any person" or to

t0      "discharge the person frorn errr¡rloynrerrt... or to discriminatc against tlte person in colrr¡rensation

11      or in ternrs. conditio¡rs. or privilegcs ol'cmploylnerìt." (Cal. Gov't Code $ 12940(a)).

1?                3tl.   Plaintifïwas. at all tinres herein. an "enr¡rloyec" cr)vcrcd by California

13      Governrnent Code $ 12900 ct seq.

14                39.    Dcfcndants were at all relevant tirnes hereto "enrploycrs" within tlte tneaning of

ll¡     California Govenrnent Code - 12900 et sec¡.

r6                40.    Plaintill's physical disability and/or other characteristics ¡rrotectcd by F'EHA rvcrc
I1      rnotivating factors in Defendant's adverse treatn'¡cnt of Plaintifï. as set fofth in detail herein

18      alrove.

19                41.    Plaintifïhas pcrfonnecl conrpetently ancl has gone ahovc and bcyond in his

20      position. has snffered an adverse ern¡rloynrerrt actiorr, and thc circunlstances give rise to the

?1      discriminatory conduct lì'onr I)elþndants.
1a                42.    Âs allcgcd hcrcin above. Plaintiff suflèred liorn a physical disability that resulted

23      in scvcral hcart surgeries and a stroke that clisabled the right sidc of his body. Plaintilïwould

24      suffer fronr surgical corl¡rlications u4rich rcsultcd in his medical leave being extentlecl through

25      Dece¡rrtrer 202?.ll¡ron attenr¡rting to rctunr to rvork in Decenrber 2022. Delbndants i¡rl'ornrcd

i¿ (;   Plaintill. lbr thc lìrst tirnc. that his position hacl lreen elinlinatcd rvhilc hc was out on lncclical
        leave. Del'enclants then oll'cred Plaintif-l'cntry lcvcl laborer ¡rositions with a pay cut ol'tlvcr 507o.

?8      or t'nan¿rg,crial positions ont of state for which Plaintifl'woulcl havc to apply and illtervicrv lbr.


                                                             _()_

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      I    and no rclocatio¡r fbes would be provided. Defendants told Plaintiff that if he refused to accept
      .)
           one of these positions thcn thcy would ten'ninatc lris ern¡rloy¡rrent. a¡rcl that is exactly what they

     _l    did. On January 3,2023,I)efþndants sent Plaintifl'a change of status forrtr wrongfully

     4     contendittg that Plaintiff had voluntarily resigncd and ref'used work. thereby terminatirrg his

     5     cmploynrent.

     6             43. Def'endants' conduct as alleged herein violated FEHA and Defendants committed
     "t    unlawful entploytnent practiccs, including, without linritation. discriminating against Plaintiff by

     I     matcrially affecting the tenns ancl conditions of his ernployment. in whole or in part on the basis

     9     of Plaintiff s mental disability in violation of Calif'ornia Govenrment Cocle $ 12900 et seq.

10                 44. As a direct, foreseeable, and proximate rcsult of Dcfbndants' actions. PlaintifT'has
ll         suffercd ancl continues to suffer aggravation of his iniuries, substantial losses in earnings and job

T2         benefits. hurniliation. cn'¡otional distress, ancl ¡lhysical and mental pain arrd anguish all to his

l3         damagc in a sunt according to proof at the tirne of trial.

14                 45. Plaintifïhas incurred and continues to incur legal experrses ancl attonreys' fees
r5         ¡rursuant to Governrnent Code $ 12965(b). Plaintiff is cntitlcd to rccovcr rcasonablc attomeys'

16         fccs and costs in a¡r arrrclunt according to proof at the time of trial.

17                 46. Defendants' conduct was willful, knowing, malicious, intentional. and done in
IB         rccklcss disregard of'the clarnaging consequences to Plaintiff. Defendants' conduct evidenced a

19         conscious disrcgard of PlaintilTs rights. Plaintill'is thus entitled to recover actual. compensatory.

20         punitive. and exernplary damagcs in amounts according to proof at time of trial.

2t

)')                                          SECOND CAUSE OF ACTION
23           (Harassrnent and l-lostile V/ork Environmcnt in Violation of Cal. Gov. Clode Section 12900 et

24                                 seq. by Plaintiff Against Dcfcndants and Does l-50)

25                47. Plaintifl'alleges and incorporates herein by this referelrce each and every
26         allegation sct lbrth in all previous paragraphs of this Conrplaint.

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     Ì             48.     Thcre existed an e¡rìllloyer-en'rllloycc rclationsltip Lrctwccn Plaintifl'ancl

     i    l)cl'crrdants during thc llnrplol/rlrcnt Pcriod and. at all tiurcs herein. Plaintill'rvas duly qualilìctl

     l    and ¡rerlilnned her enr¡rloynrent cluties in a satislirctory tnanncr.

     4              49.    I'laintil'l-suflbrcd fi'onr a disability cluring the Ern¡rloynrent Period and was ¿r

     5    lnentlrer of a protectecl class within the nleaning ol'the FEHA and is cntitlcd to its guarantees of

     f)   lull ancl equal access to enr¡rloynrent.
     '1
                   50.     lt is unlawful fìtr an crnploycr to harass an etn¡rloyee basecl o¡r tlrc cnr¡rklyce's
     I    "race. religious creed. color. national origin, anccstry. physical disability. tnental clisatrility.
     ()
          llledical condition. guretic inf-ormation. marital status. sex. gender. gencler identity. gcnder

10        cxprcssion. age. sexual orielltation. or lnilitary ancl veteran status of'any ¡lcrson." Harassmcnt of

11        an elnployee "shall lre unlawl'ul il'the entity. or its agcnts or supcrvisors, kttorvs or should have

1:)       known t¡f'this cu¡rduct a¡rd fails to takc imrncdiatc ancl appropriate corrective actio¡r. (Cal. Gov'1

13        Code $ 129400)). Even cliscrirninatory personnel/nlan¿ìgcnlcnt dccisiorts of the erttployer cart

14        prrrvide the basis lìlr a harassrncnt or hostilc rvork urvironrnent clairn. (Roh¡, t,. McKesson ('or¡t.

.l 5      (2009) 47 Cal.4th 686,707: See also Milhtr y. I)eparttnent o.f'('on'ectiuns (2005) 36 Clal.4th

t6        446.)

\1                 51,     Plaintitïwas at all tinres herein an "enr¡rloyee" covercd by Cal. Gov. Codc $

18        12900 et seq, Defendants were at all rcleva¡rt tinrcs hcrcto "ctnploycrs" witltin the lrreaning of

19        Cal. Gov. Code $ 12900 et sec¡.

:¿0                52.     PlaintifT.s disability ancl/or other characteristics ¡rrotected by FEHA wcrc
1l        rnotivating f'actors in Defenclattt's adverse treatnrent ol' Plaintili.

22                 53.     As clescribed hcrcirr abovc. during Plaintifls ernploynrent. Delì:ndants. ancl each

1.1       of thcm ¿rnd/or tlrcir agcnts or crnployees engagecl in a pattern ancl ¡rracticc of unlawñll

24        harasslrrcllt in violation of FEIIA. Def'endants harassecl Plaintill-vi¿r thc actions of Aguilar. rvlro

2rs       acting in her capacity as an agent ancl enrployec ul'ÂSl and Mcttzics. repeatedly 1i) sought to
') (,
          obstruct Plaintil'l's return to work. (ii) continually threatenecl PlaintilTrvith his "vuluntary

21        resignation" despite rnulti¡lle tvrittelr staterrrcnls fïorn Pl¿rintilïthat ltc n'ould ttol resigrt. (iii) gave

28        Plaintif'l'unrealistic cleadlincs lilr rvhiclr to dccidc whcther to take over a 50% pay cltt or rclocate


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        I   his liunily ¿ìcross or to another cuuntry. (iv) ignored and fhilcd to invcstigate Plaintifls clairn of

    2       disparate treatrììcrìt bascd upon his clisabilit),/nrcdical leave" ancl (v) insteacl res¡ronded by

    .'1     tcnninating Itlaintill's ernployrncnt.

    4                54.     The harasslnent and hostile rvork envirolrnent as allegecl herein rvas suclt that a

    5       reasonable wonlan in Plaintifl's circurnstances would havc considcrcd thc work cnviroruncnt to

    6       be hostilc. intimidating. olTcnsivc. opprcssivc" and/or abusive,

    1               55.      Defendants knew or should have known of Aguilar's concluct but co¡rtinued to

    B       allow hcr to urntinue to lrarass. thrcatcn. bclittlc. ¿rnd hurniliate Plaintifïwithout any disciplinary
    9       action, thereby crcating a hostile. intirnidating. olïensive. o¡r¡rressive. and abusive work

 1t)        environnrent.

 1l                 56.      As a clirect. firreseeable. and proxinratc rcsult of Dcf'cndant's actions. Plaintifïhas

 r2         sufÍcrcd and continucs to sul'fcr aggravation of her injuries. sulrstantial losses in earnings.

 1:j        be¡relìts. hunliliatio¡r. e¡notional clistress. and physical and rncntal pain and anguish all to her

 I4         damagc in a surn according to proof at the time of trial.

15                  57.     Plaintiff has incurred and continues to incur legal expenses and attorncys' f-ccs
16          pursu¿ìnt tu Cal. Gov. Code $ 12965(b). Plaintifï is cntitlcd to recovcr reasonable attorneys' fees

I1          and costs in an arnount according to prclol'at the time ol't¡'ial.

1B                  58.     l)efbrrclant's urnduct rvas willlirl, knor.ving tnaliciot¡s intentional. and done in

l9          rccklcss disrcgard of thc damaging conscqur-nces to Plaintiff, Defenclant's conduct evidences a

20          conscior¡s clisregarcl of Plaintifls rights, Plaintiff is thus entitlecl to recover actu¿rl, conrpensatory.

2t          punitive. ancl exemplary danrages in anrount accorcling to prool'at thc timc of trial.



                                                TIIIRD CAI-]S[, OF ACTION
24              (Failure to Prevent Discrinrination ancl Harasslnent in Violation of Llal. Cìov. Codc Scction
'25                           12900 et sec¡. hy Plaintil'l'Âgainst ÂSl. Mcnzics. ancl Does l-50)

,4 t)               59.     Plaintilïallcgcs and incorporates hcreirr by this reference each and every
') 'ì
            allegation set lìrrth irr all previt)us paragraphs ol'this C'onrplaint.
an




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  t            60.      At all relevant tinres. there existed an cnr¡rloycr-crrrployc-c rclationslri¡r Lretween
  ?    Plainti lI' and Dcibndants.

  .J           61.      At all relevant tinres. l)elendants wcrc cnrploycrs wlto regularly enr¡rloyecl live or
  4    n'rorc pcrsons u'ithir¡ thc nrcaning of C'alif'ornia Ciovenur'ìent Code $ 12900 et seq.

  5            62.      At all applicable tirnes herein. Gov. Cocle {i 12900 ct scq. was in till lbrce ancl
  6    efï'ect and bincling on l)el'enclants.

  1            63.      Clalilbmia law rcquircs that unploycrs take reasonable ste¡rs to ¡rrevent and

  B    correct wrongf'ul behavior. inclucling. lrut not linrited to. h¿rrassing and discriminatory lrehavior,

  I    (.Sce Gov. C'odc $ 12940(k)) ( ln it unlawfhl "lior an employer, . . to l'ail to take all reasonable

l0     stcps ncccssary to prevent discrilnination and harassnrent frorrr occurring.")). Pursuant to this

1t     statute. Del'endants were requirecl to take all reasonable stcps to prcvcnt discriminatiott ancl

1:)    harassnrent against Plaintill'bascd on PlaintilTs disability and/or other protectecl characteristics.

13             64.     As alleged herein alrove. throughout thc Enrploymcnt Period. Defendants failed to

 t4    ¡rrevent l)elcndants and thcir agcnts. supcrvisors. cmployees. and others lì'onr engaging in
l5     intcntional actions that resulted in Plaintiff being treatecl less favorably bccausc of Plaintift.s

16     protected status (i.e.. disability¡. Plaintill'complained of thc disparate treatrnent he suffered due

I1     to his clisability/request for medical leave. Ilather than investigate arrd/or rcmcdiate thc mattcr.

18     Defendants responded via the wrongf'ul tenninatiotr ol'his cmploytncnt.

19             (r5. Plaintill'is infìrrnled and bclicvcs. and bascd thereon alleges. that his clisability
20     and/or othcr charactcristics protcctcd by FEIIA were st¡lrstantial nrotivating fbctors in

21     Dcfcndants' adverse treatlìrent of Plaintifl'. Des¡lite knowing its legal obligations. Defcndants did

       rrothing to ¡rrevent the rarlpant discrinrination and ltarassmeut that Plaintil'f'sulTèrcd.

2.3            66.     Dcf'cndants kncw. or rcasonably should have known of'the othcr Dcf'cndants and

24     thcir agents. supervisors and enrployees' unlawl'ul discrinrination of PlaintitÏ and that

25     Defelldants should have restrained such other I)elb¡rdants frottt cngaging in suclt condt¡cl.

:¿6            67.     As ¿r dircct. lìrrcsccablc, and proxinratc rest¡lt of Defendants' actions, Plaintill'has

2'1    st¡f'ferecl a¡ld continues to suflbraggravation ol'his injurics, substantial losses in earningsancljotl

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     1    bcnefits. ht¡nriliatit'rr. cmotional clistrcss. and plrysical ancl nrcntal pain ancl anguish all to his

     :)   clanrage in a sunl according to ¡rroof at the tinre cll'trial.

     3              68.        I'jlaintifïhas incurrcd and contint¡cs to incur legal expenses ancl attorneys' lèes
     4    ¡rursuant to Governrnent Code $ 129(151tr). Plaintilf is entitlecl [o recover reasonablc attorncys'
     I
          f'ccs and costs in an anrourlt according to prool'at thc timc of trial.

     6              69.       Dcfcndants' conduct rvas willful. knorving, malicious. intentional. and done in

     7    reckless disregard of the danraging consequences to Plaintifl. Delbndants' conduct cvidcnccd a

     I    conscious disregard of Plaintifl-s rights. Plaintiff is thus entitled to recover actual. conlpensatory.

     t)   ¡runitive. and exernplary darnages in amot¡nts according to prool'at tinre ol'trial.
 l0

ll                                               I,'OURI'H CAUSE ()l' ACTION
l?                      (Retaliation in Violation of C-al. Gov. Clocle Section 12900 et seq. by Plaintifl'

t3                                             Âgainst ASl. Mcnzics. and Docs l -50)

l4                  70.       Plaintiff alleges and irrcor¡rorates herein by this rel'erence each a¡rd every
 l5       allcgation set lirrth in all ¡rrevit)us paragraphs ol'this Corlplaint.

t6                  7l,       Ât all rclcvant tirncs. thcre cxistcd an ernployer-ernployee relationshi¡r lretweerr
1'l       Pl ainti ll' a¡rtl l)e lbncla¡rts.

IB                  72.       At all rclcvant timcs. Dct'cndants rvcrc crnployers who regularly em¡rloyed five or
r9        rnore pelsons within the nleaning of California Govenìnre¡rt Code $ 12900 et seq.

2()                 73,       Atall a¡rplicatrle tinres herein. Gov. Cocle $ l2900 et seq. rv¿rs in full fìrrcc and
2t        el'l-cct and binding t¡n l)el'endants.

)j                  74.       California Govenrrnent Clode $ 12940(h) provides that it is unlawl'ul to retaliate

2:J       against a person "trecause the ¡rerson has o¡r¡rosecl any ¡rractices lìrrbiddcn undcr lGovcrnlncnt

?.4       (Ìrdc Scctions 12900-129661". It is also unlawlul to rctaliatc or othcrwisc cliscrinlinate against a
?¡i       pcrson for rcqucsting an acconr¡nodation f'or disability. rcgardlcss of rvhether the acconr:rodation
,) A
          was granted. (,\cc Clal. Gov't Clode $ 12940(nrX2)).

21                  75.       As allcgcd hcrcin abovc, l'laintiff rcclncstcd a rncclical leave of atrsence ¡rursuant

:!8       to the FMLA in or about February 2022 for hirn to oLrtain ä necessârry lreart surgery. Plaintil'l'


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       \\()uld sulJbr fìnnr surgical corn¡:lications rvhich resulted in his nredical leavc being cxtcndcd

  :!   through Dcccrnbcr 2012. IJporr attcnìpting to rcturn tt.¡ rvork in Dcccnlbcr 2022. Dcfèndants

  .l   ret¿rliatecl agairrst Plaintifl'firr his extcnded nrcdical leavc hy inlirrrrring hirn. tìrr thc lìrst tinlc.

  4    that his position had bccn climinatcd whilc hc was out orì nrc-dical lcavc, Defendants then of'fercd

  t,   Plaintiff entry level laborer positions with a pay cut of over 50%. or nranagerial ¡rositions out ol'
  (;   state lìrr rvhich Plaintifl'wot¡lcl have to apply a¡rcl intervierv lìrr. and no relocation iòcs rvould hc

  1    providcd. Dcf-cndarrts told Plaintifïthat il'hc rcfirscd to acccpt onc of thcse positions then thcy

  B    woulcl ternri¡rate his ernploynrent. ancl that is exactly whal. they dicl. On.lanuary 3,2023,

  I    Dcf'cndants comnritted their lìnal rctaliatory ¿rct via thc wrongful tcrmination of his ernployrncnt.

t0              76.      As a proxirnatc rcsult of Dcfcndants' actions. Plaintiff has suffered and continr¡es

11     to sull'el aggravation of his injuries. sulrstantial losses irr earnings and job henelìts. ltumiliation.

 t?    emotional distrcss. and ¡rhysical and rrre¡rtal ¡rairr and anguish all to his darnagc in a sutrt

] j    accorcling to proof'at the tirne of'trial.

 t4             77.      Plaintill'has incurred ancl continues to incur lcgal cxpcnscs and attorneys' f'ccs
15     pursuant to Govcrnrncnt Codc ss 12965(b). Plaintiff is entitled to recover reasollalrle attorneys'

1(;    lèes and cclsts in arì arnount according to proof'at the tinre of'trial.

l7              78.      Dcf'cndants' conduct was willful. knorving. nralicious. and intentional and done in

liì    reckless disregard of the clanraging conseque¡rces to Plaintill. Def'encla¡rts'conduct cvidencecl a

tg     conscior-rs clisregarcl ol'Plaintill's rights. Plaintill'is thus cntitlcd tr) rccovcr actual. cotnpcnsatory.

20     punitivc. and cxcmplary damagcs in amounts according to proof at tirne of trial.

?1

'))                            '              FIFTH CAUSR, OF ACTION
23          (Wrongfirl 'l'crnrination in Violation of Public Policy (Count I) Ily Plaintifl'Against ASI.

J4                                                Menzies. and Does l-50)

?5              7q.      Plaintiff alleges and incor¡rorates herein by this relbrencc each and cvcry
:¿6    allegation sct lìlrth in all ¡rrevir)us paragraplrs ol'this (lorrrplaint.

?t              80,      At all rclevant finres herein. there exislecl an enr¡rloyer-em¡rloyee rclationshi¡r
:¿B    bctrveen Pl ainti L' and De l'enclants duri ng thc l'irl¡rloy nìrrtìt llcriod.
                         f




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        I            81,     At all relcvant tinres herein" I'laintil'f'was duly qualilìed ancl perfi)nncd his

            ctnploynìcrtt dutics in ¿r s¿rtisl'actory rnanncr.

     .j              82.     At all relevant tillres to this actioll. Governnlc'lrt Cotlc r\ 2900 ct scq. was in f ull
                                                                                            1




     4      fbrcc- and ctfcct and w¿rs binding upon Dcf'crrda¡rts. (iovcrnnrcnt Coclc $ 12900 et seq. prohibits

    5       atr ernployer fronr retaliating against enrployees who request a disability relatecl accotrrrnodation.

     (-,    (Cal. Gov't Cocle $ 12900(nrX2)). Governrrrenl C<lcle $ | 2900 et set¡. evinccs a policy that

    1       bcncfìts socicry at largc. was wcll-cstablishcd at thc timc of Plaintiff-s discharge. ancl is

    ti      substantial and l'undarlrental.
    cl              tl3.     Plaintilï.s rec¡uests lbrand use of l.'ML^ lcavc and cxtcnded rncdical leavc wcrc

 l0         substantial nrotivating rcasons f'or Dcf'cndants' decision to tenninate Plaintiff s enr¡rloynrent.

 1l                 84.      As a direct and proximate result of Defbnclants' actirurs. Plaintilì'has sull'erecl. and

 I :).      continucs to sulltr. substa¡rtial losscs irr eanrings and othcr.iclb bcncfìts. and will for a pcriod of

 l-j        tinre in the future tre unable to olrtain gainl'ul ern¡rloyrnent. as Plaintill's ability to obtain such

 t4         enrploymcnt and carning capacity has been dinrinishcd. 'l'hc cxact ¿lmount of st¡ch expcnscs and

t5          losses is presently unknoln, and Plaintiflwill seek leave to anlend this Conr¡rlaint to the exact

I f,;       anrount when it is ascertained.
 1a                 85.      As a clircct ancl proxinrate rcsult of Defenclants' cor'¡duct. Plaintif'l'has suffèrecl

1tì         general danrages. as ['laintiff rvas psyclrologically injurecl. Such injurics ltavc c¿rusccl. atrtl
'I cl
            co¡rtinue to cause Plaintill'great nrental pain and sr.rll'cring, humiliation. gricl'. and anxicty. in an

20          arnount morc than thc.jurisdictional limits of this Clourt.

2l                  86,      Plaintiff is inlbnnecl and believes. and based tlrereon alleges. that l)elèndants'
            (inch,rding cnr¡rloyecs. olIìcers. clirectors. antl/or managing agcnts ol'Dcfcrtdants) condttct was

23          willful. knowing. rnalicior.¡s, and intcntional and donc'in reckless disregard of the danraging
24          consequences to Plaintifl. Dcf'endants' conduct eviclenced a conscious disregard ol'PlainlilT's
') l.
            riglrts. Plaintil'f is thus entitlecl to recover actual. conrpensatory, ¡runitive. ancl cxcrnplary

:¿ r.;      damages in a¡rrounts accorcling to prool.

                    87.     I'laintifi'is inlbrnled ancl Lrelieves. and lrasecl thereon alleges. that thc actio¡rs of'
') f)
            Dcl'c¡rdants' cnr¡rloyccs. ol'ficers. clirectors. and/or rrrarnarging ¿ìgcnts wcrc undc-r'takot rvith thc


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        l    prior approval. conscrìt. ancl authorization of Dclbndants arìd wcrc subscclucntl)' ar¡thorizcd and

     :'      ratilicd hy it as well as lry and through its ofTicers. clirectors. ancl/or nranaging agerrts.

        l

     4                                           SIXTH CATISII OF ACTION
        lr                      (rWronglil 'l'crnrinatio¡r in Violation ol'Public Policy (Llourrt II)

     f:                                by Plaintiff Against ASI. Mcnzics. and Docs l-50)

     1               88.     Plaintill'alleges ancl incorporates herein lry this reference each a¡rcl every

    tì       allegation set forth in all prcvious paragraphs of this Clomplaint.
     (-)
                     89.     At all relevant tinres herein. there existed an ernployer-enr¡rloyee relationship
 l0          bctrvccn Plaintifl' and Delbnclarrts during tlre Enr¡rl oynrent Period.

 11                  90.     At all rclcvant timcs hucin. Plaintifïwas duly qualifìcd and pufbnrrcd his
 t¿          enr¡rloynrent duties in a satisfactory nranner.

 l3                  91.     At all applicablc tirncs hcrcin. Calilbrnia Cìovcrnnrcnt Clodc $ 12900 ct scq. and
 14          Calilbrnia Constitution Art I.. $ I were irr full fbrce and effèct and binding on Del'endants.
 15                  92.     Del-endants' ternrination ol'Plaintill'was in violation ol' f undanrcntal public

 16          policies. articulated in Govcrnnrcnt Llodc |i 12900 ct scq. and Articlc I, $ I of the California

 t'7         C-'onstitutit-rn. Spccilìcally, that the ¡lolicy behincl the prevention ol'disclimination protects

 18          Plaintiff and thc public at largc. is substantial and ftndarncntal. was wcll cstablished at thc tirnc

 t9          clf Plaintifl's discharge. and can fornr the lrasis ol'a conlrìlon lawrvrongful ternlinaticln claim.

20           (Stcven.son v. Supariot' Cout't (Hunlinglon ltlem, Ho,s¡t.). ( 1997) l6 Cal,4th 880. 889; Phillip,r v,

!t           Sr. À4ury Rc¿4ional Medic:ul ('enter, (2002) 9(r Cal.App.4th 2 ltl.227).

22                   93,     Plaintifl's disability ancl/or other protected characteristics were a sutrstantial
?3           motivating reason lìlr Def'endants' decisicln tcl tenninate Plaintil'f's enr¡rloyntent.

24                   94.     As a dircct ancl proxinrate result ol'l)cltndants' actions. Plaintifl'has suflbred. arrcl

25           continues to suf'fcr. substantial losscs in carnings arrd othcr.job bcnc'fits. and will for a pcriod o1'

26           tinre in lhe lì¡ture be unable to obtain gainful ernploynrent. ¿rs Plaintifls ability to obtain sr¡ch

21           crnploynrcnt arìd carning capacity has bucn diminishcd. 'l'hc cxact arnor¡nt of sr¡ch cxpcnscs and

:¿ tì




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                                                           (]OMPI,AINl'
                                                                                                              Page 79
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     1   losscs is prcscntly unknow¡r, and Pl¿rintill'will seek leave to anrencJ this C'orrrplaint to lhc cxact

   :.:   anrount when it is asccrtaincd.

     3              95.    Âs a dircct and proxirnatc rcsult of'Dcfcndants' conduct. Plaintifïh¿rs sufTcrcd

   4     general datnages. as PlaintifTlvas psychologically injured. Such iniuries have caused. and

   5     continue to cause Plaintiff great nrental ¡rairr ancl sufl'ering. hunriliation. griel. ancl anxiety. in an

   6     arnount rnorc than thc jurisdictional lirrrits o1'this Cr¡urt.

                    96.    Plaintiff is infbnned ancl belicvcs. and bascd thercon allcges. that Delèndants'
   B     (including cmployccs. oflicers. directors. ancl/rlr nranaging agents of'Def-endants) conduct was

   9     willful. knowing. malicious, and intcntional and donc in rccklcss disrcgard of the darnaging
10       consequences to Plaintiff. Defendants' condr¡ct eviclenced a conscious disregard of Plaintiff s

1t       rights. PlaintifTis thus e¡rtitletl t<l recover actual. compensatory. ¡runitive. and exenrplary

T2       darnages in amonnts according to prool.

l-l                 97.    Plaintill'is inlirr¡ned a¡rd believes. ancl basecl thereon alleges" lhat the actiolrs ol'
I4       Defendants' ernployecs. ofÌìccrs. dircctors. and/or managing agcnts wcrc undcrtaken rvith thc

15       ¡rrior approval. consent. and authorization of Defendants ancl were subsequently authorized and
l6       ratilicd by it as well as by and through its oflicers. clirectors, ancl/or nranaging agents.
1't

1B                                               PRAYER FOR RR,LIEF
I -t)            WIIIIRUFORE, PlaintitTprays fbr judgnrcnt against Dcl'cndants,.jointly and scvcrally. as
2t)      follows:

21                                    I"INDBR THD FIRST CATISD OF ACTION

                    l. For all compcnsatory. conscqucntial. gcncral and spccial damagcs. sub.jcct to proof;
23              2. For punitive clarnages in an arnount to be dctcrnrinetl by the Cot¡rt to lre reasonable
24                     u¡rder the circurnstances of this caset

?q              3. For attorney's fbes ancl costs pursuant to Ciovernnrent Coclc $ 1296-5(b)l
26              4. lior intcrcst according to larv;
                -5. F'or costs of'suit i¡rcurrecl herein; and
28              6. lror such othcr and fìrrthcr rclicl'that thc Court dctcrnrincs to bc.iust ancl propcr.

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                                                         COMPI.AINT
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 t.


 2                      UNDER THE SECOND CAUSE OF ACTION
 J     l. For all conrpensatory. con.sequential. general and special damages. subject to proof:
 4     2. For punitive damages in an arnount to be determined by the Court to be reasonable
 5         under the circurnstances of this case:

 6     3. For attomey's f'ees and costs pursuant to Government Code $ 12965(b);
 7     4. For interest according to law;
 I     5. For costs of suit incurred herein; and
 9     6. F'or such other and further relief that the Court detennines to be just and proper.
10

11                       UNDER THE THIRD CAUSE OF ACTION
I2     l. For all compensatory. consequential, general and special damages" subject to proof ;
13     2. For punitive damages in an amount to be detennined by the Court to be reasonable
T4         under the circumstances of this case;

15     3. For attorney's fees and costs pursuant to Govemment Code {i 129ó5(b);
16     4. For interest according to law;
T7     5. For costs of suit incuned herein; and
18     6. For such other and further relief that the Court determines to be just and proper,
19

20                     UNDER THE FOURTH CAUSE OF ACTION

2T     l. For all cornpensatory, consequential. general and special damages. subject to proof;
22     2, For punitive damages in an amount to be determined by the Court to be reasonable
23        under the circumstances of this case;

2A     3. For attorney's fees and costs pursuant to Government Code $ 12965(b);
25     4. For interest according to law;
26     5. For costs of suit incurred herein; and
21     6. For such other and further relief that the Court determines to be.iust and proper.
28



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                                           COMPLAINT
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      I                             UNDER THE FI}'TH CAT]SE OF ACTION
      I          L For all cornpensatory. consequential. general arrcl s¡recial clarnagcs. subject to proolì
      3          2. For punitive darnages in an arnount to be deternrinecl by the Court to tre reasonable
     4               under the circurnstances ol'this casel

     5           3. For interest accurding to law:
     6           4. For costs of suit incurred herein: and
     't          5. For such other and further relief that tlre Court cletennines to be just and proper.
     I
     9                             TINDBR THD SIXTH CAUSE OF ACTION

10               6. For all conrpensatory. consequential, general and special damagcs, subjcct to prootì
tl               7. I"or punitivc damagcs in an amount to bc dctennined by the Court to be reasonable
1t)                  under the circurnstances of this case:

l3               8. l;or intcrcst according to law;
L4               9. For costs of suit incurred herein: and
tE
t.,              10. For such other ancl l'urther relief'that the Court detennincs to bc.just and propcr.

l6
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IB        Datcd: Junc t|.2023                           M^RQUUU LAW GROUP. APC

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20                                                      By
2'l
                                                              Iì. Shawn        llahi. Esq.
                                                              Gary S. I3rotman. Esq.
22                                                            Attorneys fìrr PlaintitTGcary Sha

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                                                     croMPt.AlN'l'
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 1


 2         PLAINTIFF hereby dcmands a jury trial with respect to all issues triable in the

 3   Complaint,

 4


 5   Dated: June 8,2023                         MARQUEE LAW GROUP, APC

 6

 1                                              By:
 I                                                    F. Shawn               Esq.
                                                      Gary S.Broünan, Esq.
 9                                                    Attorneys for PlaintiffGeary Sha

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                                             COMPLATNT
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                Superior Court of California, County of San Francisco
                           Alternative Dispute Rcsolution
                                       lnformation Package                                       /\
        ,)

                                                                                               ü           tl
    The plaintlffmust serve a copy of the ADR lnformation Package on each defendant along
   with the complaint. Cross-complainants must serve a copy of the ADR lnformation Package
       on eny new parties to the action together with the cross-complaint. (CRC 3.221(c).)


WHAT IS ADR?
Alternative Dispute Resolution (ADR) is the term used to describe the various optlons available for
settling a dispute without a trial. There are many different ADR processes, the most common forms of
which are mediatlon, arbltration and settlement conferences. ln ADR, trained, impartial people decide
disputes or help parties decide disputes themselves. They can help parties resolve disputes wlthout
having to go to trial.

WHY CHOOSE ADR?
It is the policy of the Superior Court that every long cause, non-criminal, non-juvenile case should
participate either in an early settlement conference, mediation, arbitration, early neutral evaluation or
some other alternative dispute resolution process prior to trial. (Local Rule 4.)

ADR can have a number of advantages over traditional litigation:
    o ADR can save time. A dispute often can be resolved in a matter of months, even weeks,
         through ADR, while a lawsult can take years.
    ¡    ADR can save money, including court costs, attorney fees, and expert fees.
    ¡    ADR encourages partlclpatlon. The partles may have more opportunities to tell their story than
         in court and may have more control over the outcome of the case.
    o    ADR ls more setlsfylng. For all the above reasons, many people participating in ADR have
         reported a high degree of satisfaction.




WHATARE THE ADR OPTIONS?
The San Francisco Superlor Court offers different types of ADR processes for general civil matters. The
programs are described below:

1l MANDATORYSETTTEMENTCONFERENCES
Settlement conferences are appropriate in any case where settlement is an option, The goal of
settlement conferences is to provide participants an opportunity to reach a mutually acceptable
settlement that resolves all or part of a dispute. Mendatory settlement conferences are ordered by the
court and are often held near the date a case is set for trial, although they may be held earlier if
appropriate. A party may elect to apply to the Presiding Judge for a specially set mandatory settlement
conference by filing an ex perte application. See Local Rule 5.0 for further instructions. Upon approval by
the Preslding Judge, the court wlll schedule the conference and assign a settlement conference officer.


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2l MEDTATTON
Mediation is a voluntary, flexible, and confidential process in which a neutral third party facilitates
negotiations. The goal of mediation is to reach a mutually satisfactory agreement that resolves all or
part of a dispute after exploring the interests, needs, and priorities of the parties in light of relevant
evidence and the law.

     (Al MEDIATION SERVICES OF THE BAR ASSOCIATION OF SAN FRANCISCO (BASF), in cooperation
wlth the Superior Court, is designed to help civil litigants resolve disputes before they incur substantial
costs in litigation. While it is best to utllize the program ôt the outset of litigation, parties may use the
program at any time while a case is pending. Experienced professional mediators work with parties to
arrive at a mutually agreeable solution. The mediators provide one hour of preparatlon time and the
first two hours of medlatlon time. Medlatlon tlme beyond that is charged at the mediator's hourly rate.
BASF pre-screens all mediators based upon strict educational and experience requirements. Parties can
select their mediator from the panels at www.sfbar.orslmediation or BASF can assist wlth mediator
selection. BASF staff handles confllct checks and full case management. The success rate for the
program is67% and the satisfaction rate is 99%. BASF charges an administrative fee of $295 per party.
The hourly mediator fee beyond the first three hours will vary depending on the mediator selected.
Waivers of the fee are available to those who qualify. For more information, call 415-982-1600 or email
adr@sfbar,ore.

      (Bl JUDICIAI MEDIATION PROGRAM provides medlation w¡th a San Francisco Superior Court judge
for civil cases, which include but are not limited to, personal injury, construction defect, employment,
professional malpractice, insurance coverage, tox¡c torts and industrial accldents. Parties may utilize
this program at any time throughout the litigation process. Parties interested in judicial mediation
should file a Stipulation to Judicial Mediation indicating a joint request for inclusion in the program. A
preference for a specific judge may be indicated. The court wlll coordlnate asslgnment of cases for the
program. There is no charge. lnformation about the Judicial Mediation Program may be found by
visiting the ADR page on the court's website: www.sfsuperlorcourt,or¡ldlvlsions/clvll/dispute-resolutlon

    (Cl PRIVATE MEDIATION: Although not currently a part of the court's ADR program, parties may
select any private mediator of their choice. The selection and coordination of private mediation is the
responsibility of the parties. Parties may find mediators and organlzatlons on the lnternet. The cost of
private mediation will vary dependlng on the medlator selected.

     (Dl COMMUNIW BOARDS MEDIATION SERVICES: Mediation services are offered by Community
Boards (CB), a nonprofit resolutlon center, under the Dlspute Resolution Programs Act. CB utillzes a
three-person panel mediation process in which mediators work as a team to assist the parties in
reaching a shared solution. To the extent possible, mediators are selected to reflect the demographics of
the dlsputants. CB has a success rate of 85% for parties reaching a resolutlon and a consumer
satisfaction rate of 99%. The fee ls Sq5-S100 to open a case, and an hourly rate of 5180 for complex
cases. Reduction and waiver of the fee are available. For more information, call 415-920-3820 or visit
communitvboards,orc.




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3l ARBTTRATTON
An arbitrator is a neutral attorney who presides at a hearing where the parties present evidence through
exhibits and testimony, The arbítrator applies the law to the facts of the case and makes an award based
upon the merits of the case.

    (A) JUDTCTAT ARBTTRATTON
When the court orders a case to arbitration it is called "judicial arbitration". The goal of arbitration is to
provide parties with an adjudication that is earlier, faster, less formal, and usually less expensive than a
trial. Pursuant to ccP 1141.11, all civil actions in which the amount in controversy is $50,000 or less, and
no party seeks equitable reliel shall be ordered to arbitration. (Upon stipulation of all parties, other
civil matters may be submitted to judicial arbitration.) An arbitrator is chosen from the court's
arbitration panel. Arbitrations are generally held between 7 and 9 months after a complaint has been
filed. Judicial arbitration is not binding unless all parties agree to be bound by the arbitrator's decision.
Any party may request a trial within 60 days after the arbitrator's award has been filed. Local Rule 4.1
allows for mediation in lieu of judicialarbitration, so long as the parties file a stipulation to mediate
after being assigned to judicial arbitration. There is no cost to the parties for judicial arbitration.

    (B) PRTVATE ARBTTRATTON
Although not currently a part of the court's ADR program, civil disputes may also be resolved through
private arbitration. Here, the parties voluntarlly consent to arbitration. lf all parties agree, private
arbitration may be binding and the parties give up the right to judicial review of the arbitrator's decision.
ln private arbitration, the parties select a private arbitrator and are responsible for paying the
arbitrator's fees.

HOW DO I PARTICIPATE IN ADR?
Litigants may elect to participate in ADR at any point in a case. General civil cases may voluntarily enter
into the court's or court-affiliated ADR programs by any of the following means:
    o Filing a Stipulation to ADR: Complete and flle the Stipulation form (attached to this packet and
         available on the court's website); or
    o lndicating your ADR preferences on the Case Management Statement (available on the court's
         website); or
    r    Contacting the court's ADR Department (see below), the Bar Association of San Francisco's ADR
         Services, or Community Boards.


For more lnformatlon about ADR programs or dispute resolutlon alternatlves, contact:

                             Superior Court Alternative Dispute Resolution
                       400 McAllister Street, Room 103-4, San Francisco, CA 94102
                                              415-551-3869
        Or, visit the court's ADR page at www,sfsuperiorcourt.ornldivisions/clvil/disoute'resolution

TO PARTICIPATE IN ANY OF THE COURT'S ADR PROGRAMS, PLEASE COMPLETE AND FILE THE ATTACHED
STIPULATION TO ADR AND SUBMIT IT TO THE COURT. YOU MUST ALSO CONTACT BASF OR COMMUNITY
BOARDS TO ENROLL IN THEIR LISTED PROGRAMS. TI{E COURT DOES N         FORWARD COPIES OF
STIPULATIONS TO BASF OR COMMUNITY BOARDS.




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ATTORNEY OR PARTY WTHOUT ATTORNEY (Name and a(drcss)        Document 1-4          Filed 03/20/24            Page  30 USE
                                                                                                            FOR COURT of 32
                                                                                                                         O'VTY




TELEPHONE NO.:

ATTORNEY FOR ívans/i

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
400 MêAllislêr Shêat
San Franciaco, CA s4102-4514

PLAINTIFF/PETITIONERI


DEFENDANT/RESPONDENT:


             STIPULATION TO ALTERNATIVE DISPUTE RESOTUÎION (ADR)                             CASE NUMBER;

                                                                                                               DEPARTMENT 6'IO

r)    The partiea hereby stlpulâtê that thls âctlon ¡hall be subm¡tted to the followlng ADR proceaa:
 tl       Mediation Servicee of the Bar Aagoclatlon of San Francieco (BASF) - Experlenced professional mediators, screened
          and approved, prov¡de one hour of preparation and the first two houre of med¡at¡on time for a BASF administrative fee of
          $295 per party, Mediation time beyond that is charged at the mediator'B hourly rate. Waivers of the administrative fee are
          availåble to those who qualify. BASF assists parties with mediator selecllon, conflicts checks and full case management,
          www. sfbar.org/mediation

 E        Medlatlon Services of Community Boarda (CB) - Service in conjunction with DRPA, CB provides case development and one
          three-hour mediation session. Additional segslons may be scheduled. The cost is $45-$100 to open a casê, and an hourly rate
          of $180 for complex cases, Reduction and waiver of the fee are available to those who qualify. communityboards.org
 Ef       Private Mediation - Mediatore and ADR provlder organizations charge by the hour or by lhe day, current market rates. ADR
          organizalions may also charge an administrative fee, Parties may lind experienced mediators and organizations on the lnternet,
E        Judlclal Arbltratlon - Non-binding arbitration is available to caseg in which the amount in controversy is $50,000 or less and
         no equltable relief is sought. The courl appoinls a pre-scr€ened arbltrator who will issue an award, There is no fee for
         thls program. www.sfsuperiorcourt,org/divisions/civil/dispute-resolution
         Judicial Mediation - The Judicial Mediatlon program offers mediation in civil litigation wllh a San Francisco Superior
         Court judge familiar with the area of the law that b the subjecl of the controversy, There is no fee for this progråm.
          www.sfsuperiorcourt. org/divisions/civil/dispute-resolution

          Judge Requested (see list of Judges currently participating in the program):
          Date range requested for Judlcial Mediation (from the liling of stipulation to JudicialMediation):
          EsO-godays E 90-120 days fl otner(pleasespecify)

E     Other ADR process (describe)
2l The partles agree that the ADR Procege ehell be completed by (date):
3) Plaintiff(e) and Defendant(s) furthôr egree as followe:



Name of Party Stipulating                                                    Name of Party Stipulating



Name of Party or Attorney Executing Stipulation                              Name of Parly or Attorney Executing Stipulation


Signature of Party or Attorney                                               Signature of Party or Attorney

l-l Plaint¡n [---ì oetencant D Cross-defendant                               E ptaintitt [-- I oerenoant l--.l Cross-defendant
Dated                                                                        Dated

                                                E Addltlonal slgnature(s)attached

ADR.z 10/18                      STIPULATION TO ALTERNATIVE DISPUTE RESOLUTION

                                                                                                                          Page 87
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     l                                           PROOF OF SBRVICE

 2               I cleclare that I ant over thc agc of cightccn ( I 8) and not a party to this action. My business
          addrcss is 9100 Wilshirc Boulcvard. Suitc 445. East l'ower. Elcvcrly Hills. California 90212.
 3
                 On .lune 13.20231 served the foregoing document(s) described as:
 4             SUMMONS; COMPLAINT; CIVIL C]ASB COVER SHEET; ADR INFORMATTON
               PACKAGE,; AND NOTICB AND ACKNOWLEDGEMENI'O['RECBIPT - CtVtL
 5
          on all irtterested partics in this action by transmitting a true copy of the documcnt(s) described
 6        abovc, addressed as ftrllows:
                                          SBE AT'T'ACHED SERVICE LIST
 7
          (X) BY MAIL as lbllows: I anr "readily firmiliar" with tlre linn's practice ol.collection and
 I               processing ol'corresponclence for mailing with the United States Postal Service, I know
                 that the conespondence was deposited with the United States Postal Service on thc same
 9
                 day this declaration was cxccuted in the ordinary coursc of busincss. I know that the
l0               envclopc was sealed and, with postâge thereon fully prepaid. placed for collection and
                 mailing on this date i¡r the Llnitetl States nlail at Beverly Hills, Califìrnria.
ll ( )           BY PDRSONAL SBRVICE: I causcd to bc dclivcred such cnvelope by hand to the
t2               above addrcsscc(s).
          ()     BY OVERNIGHT COIIRIBR: I am "readily farniliar" with the finl's practice of
l3               collecting and processing overnight deliveries. which includes depositing such packagcs in
l4               a receptacle used exclusivcly for ovcrnight deliverics. 'l'hc packages were deposited
                 before thc rcgular pickup tinre and marked accordingly for dclivcry thc ncxt business day.
l5        (X)    tlY ELECTRONIC TRANSMISSION: Participants in this case were served
                 electronically to the address ol'the recipient(s) as set J.orth below. I anr readily fi¡miliar
l6               with the Code <ll'Civil Procedure and California Rules of Court for electronic service and
                 this document/these docurnents were duly served electro¡rically in accordance with said
t7
                 rules and regulations on thc datc statcd abovc. and thc transmission was reported as
I8               complctc and without error.

l9               I declare under penalty of pedury r¡nder the laws of the State of Calilbmia that the abovc is
         true and conect. Executecl on June 13,2023 at Ileverly Hills. California
20

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                                                  PROOF'OF SERVICIE                             Page 88
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      SERVICE LIST':
 I
       Foley & Lardner LLP                           Attorneys.þr Defendant MENZIES
 2     c/o Kevin Jackson, Esq.                       AVIATION (U5.4), INC, and TR4CY
       I1988 El Camino Real, Ste 400                 AGUILAR.
 3     San Diego, CA 92130
       E : kj a c kt on@fo I ey. c o m ;
 4      smoreno@þley.com;
       cward@folev.com
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